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UNITED STATES DISTRICT COURT                                       USDC SDNY
SOUTHERN DISTRICT OF NEW YORK                                      DOCUMENT
---------------------------------------------------------------X   ELECTRONICALLY FILED
                                                                   DOC #: __________________
UNITED STATES OF AMERICA                                           DATE FILED: November 6, 2020



                                                                           18-CR-631 (KMW)
                 v.                                                              ORDER



JEREMY POSNER,

                           Defendant.
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KIMBA M. WOOD, District Judge:

        The Court has received Defendant’s November 4, 2020 letter motion for reconsideration.

(ECF No. 51.) The Government is directed to respond by November 23, 2020.


SO ORDERED.

 Dated: New York, New York
        November 6, 2020                                             /s/ Kimba M. Wood
                                                                      KIMBA M. WOOD
                                                                   United States District Judge
